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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

  Civil Action No. 06-cv-01355-PSF-MEH

  KYLE LARSON; and
  TEARSA LARSON,

        Plaintiffs,

  v.

  AMERICAN FAMILY MUTUAL INSURANCE COMPANY,

        Defendant.


                                  MINUTE ORDER

  ORDER ENTERED BY JUDGE PHILLIP S. FIGA

      Plaintiffs’Unopposed Motion to Vacate and Reschedule Hearing (Dkt. # 76) is
  GRANTED in part. The hearing currently set for March 28, 2007 at 3:30 p.m. is
  VACATED and may be reset at a later date.

        DATED: March 27, 2007
